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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEB5 tj,ll\} 27 !)i:`"l vt l L.

 

   

 

WESTERN DIVISION
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United States of Arnerica, §.‘-!m»*i:g

Plaintiff, Civil No. 03»2824-V
v.
Fifty-Three (53) Firearms,

Defendants.

SCHEDULING ORDER

 

Pursuant to the consent and agreement of the parties, the following dates are established as
the final dates for:
INITIAL DISCLOSURES PURSUANT TO Fed.R.Civ. P. 26(a)(l): Friday, July l5, 2005
JOINING PARTIES: Monday, July 25, 2005
AMENDING PLEADINGS: l\/[onday, July 25, 2005
lNlTIAL MOTIONS TO DISMISS: Monday, August 22, 2005
COMPLETING ALL DISCOVERY: Monday, Septernber 26, 2005

(a) DOCUMENT PRODUCTION: Monday, September 26, 2005

(b) DEPOSITIONS, INTERROGATORIES, AND REQUESTS FOR
ADMISSIONS: Monday, September 26, 2005

(c) EXPERT WITNESS DISCLOSURE (Rule 26): N/A

FILING DISPOSITIVE MOTIONS: Monday, October 24, 2005

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OTHER RELEVANT MATTERS:

No depositions may be scheduled to occur after the discovery cutoff date. All motions,
requests for admissions, or other filing that require a response must be filed sufficiently in advance
of the discovery cutoff date to enable opposing counsel to respond by the time permitted by the Rules
prior to that date.

l\/lotions to compel discovery are to be filed and served by the discovery deadline or Within
30 days of the default or the service of the response, answer, or objection, which is the subject of the
motion, if the default occurs Within 30 days of the discovery deadline, unless the time for filing of
such motion is extended for good cause shown, or the objection to the default, response, answer, or
objection shall be waived.

This case is set for non-jury trial, and the trial is expected to last one (l) day.
This case is not appropriate for ADR.

The parties are reminded that pursuant to Local Rule l l (a)(l)(A), all motions, except motions
pursuant to Fed. R. Civ. P. 12, 56, 59, and 60 shall be accompanied by a proposed order.

The opposing party may file a response to any motion filed in this matter. Neither party may
file an additional reply, however, without leave of the court. lf` a party believes that a reply is
necessary, it shall file a motion for leave to file a reply accompanied by a memorandum setting forth
the reasons for which a reply is required.

This order has been entered after consultation with trial counsel pursuant to notice. Absent
good cause shown, the scheduling dates set by this order Will not be modified or extended

 

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DIANE K. VESCOVO
United States Magistrate Judge

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APPROVED:

TERRELL L. HARRIS
United States Attomey

ristopher E. Cotten
Assistant United States Attomey
Counsel for Plaintiff

 

§ah E, U-w~'~. CC<°~C'W/M)
J ake E. Erwin
Counsel for Claimant

Robert Shelby

UNITED sTTEAstRTIC COUR - WESRNTE D"ITRCIT o TENNESSEE

     
 

Notice of Distribution

This notice confirms a copy of the document docketed as number 24 in
case 2:03-CV-02824 was distributed by faX, mail, or direct printing on
.lune 28, 2005 to the parties listed.

 

 

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Honorable Diane Vescovo
US DISTRICT COURT

